USDC IN/ND case 1:19-cv-00202-WCL-SLC document 1 filed 05/07/19 page 1 of 6


                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION


NICOLE VORHEES,                                )
                                               )
               Plaintiff,                      )
                                               )
v.                                             )       Case No.:
                                               )
THOMAS MAZZATOSTA and                          )
ANNETT HOLDINGS, INC. D/B/A                    )
TMC TRANSPORTATION                             )
                                               )
                                               )
               Defendants.                     )


                                           COMPLAINT

       Plaintiff, Nicole Vorhees (“Vorhees”), by counsel, for her cause of action against the

Defendants Thomas Mazzatosta (“Mazzatosta”) and Annett Holdings, Inc. d/b/a TMC

Transportation state and allege as follows:

                                      I.      INTRODUCTION

       1.      On or about July 3, 2017 around 5:50 p.m., a semi-truck of Annett Holdings Inc.,

d/b/a TMC Transportation driven by Thomas J. Mazzatosta (“Mazzatosta”) pulled out in front of

Vorhees’ vehicle which was unable to stop in time to avoid the collision. The collision happened

at the intersection of US 224 and I-69 south bound off ramp in Huntington County. As a direct and

responsible cause of Defendants’ negligent conduct, Vorhees has suffered and continues to suffer

damages including, but not limited to, personal injuries, bodily impairment, physical pain and

suffering, and mental anguish, lost wages and property damage. Vorhees seeks all damages

available under Indiana law, interests and costs and all other just and proper relief.




                                              Page 1 of 6
USDC IN/ND case 1:19-cv-00202-WCL-SLC document 1 filed 05/07/19 page 2 of 6


                                          II.      PARTIES

       2.      Nicole Vorhees is an individual citizen of Huntington, Huntington County, Indiana.

       3.      Thomas Mazzatosta is an individual citizen of Lower Burrell, Westmoreland

County, Pennsylvania.

       4.      Annett Holdings, Inc., d/b/a TMC Transportation is a corporation organized and

existing under and by virtue of the laws of the State of Iowa with its principal place of business in

Des Moines, Polk County, Iowa.

                                    III. JURISDICTION AND VENUE

       5.      This Court has jurisdiction over this action by virtue of the Federal Diversity

Statute, 28 U.S.C. § 1332, because the Plaintiff is a citizen of the State of Indiana, the Defendant,

Thomas Mazzatosta, is a citizen of the State of Pennsylvania, and the Defendant Annett Holdings,

Inc., d/b/a TMC Transportation is a citizen of the State of Iowa. The matter in controversy exceeds

$75,000.00 exclusive of interest and cost.

       6.      Venue is appropriate because the collision occurred in Huntington, Indiana.

                                          III.       FACTS

       7.      Nicole Vorhees incorporates by reference Paragraphs 1-6 of her Complaint as if

the same were fully set forth herein.

       8.      On or about July 3, 2017 around 5:50 p.m., Vorhees was driving her 2010 Ford

Focus east bound on US 224 at the intersection of US224 and I-69 south bound off ramp in

Huntington County.

       9.      As Vorhees approached the intersection of US 224 and the south bound off ramp

of I-69, she could not avoid colliding with a semi-truck of TMC Transportation/Annett Holdings

Inc. driven by Mazzatosta, who had pulled out in front of her.



                                                Page 2 of 6
USDC IN/ND case 1:19-cv-00202-WCL-SLC document 1 filed 05/07/19 page 3 of 6


       10.      At the time of impact the front of the Ford Focus became lodged into the fuel tank

of the semi-truck driven by Mazzatosta.

       11.      The force of the impact was severe.

       12.      Vorhees experienced multiple points of impact from the crash.

       13.      Vorhees required medical treatment as a result of the crash.

       14.      Vorhees also incurred personal injuries, bodily impairment, physical pain and

suffering, and mental anguish as a result of the crash.

       15.      Vorhees also incurred lost wages and property damage as a result of the crash.

       16.      The investigating police officer at the scene determined that Mazzatosta’s

negligence was the responsible cause of the crash.

                                  V. STATEMENT OF CLAIMS

                           Count I: Negligence (Defendant Mazzatosta)

       17.      Vorhees incorporates by reference paragraphs 1 through 16 of this Complaint as if

the same were fully set forth herein.

       18.      Mazzatosta had a duty to exercise reasonable care in the operation of his tractor-

trailer and to avoid injury to others, including Vorhees.

       19.      Mazzatosta breached his duty of reasonable care in the operation of his tractor-

trailer which resulted in Vorhees incurring damages.

       20.      The negligent conduct of Mazzatosta includes, without limitation, the following:

             a) failing to maintain proper control of his tractor-trailer;

             b) failing to keep a proper lookout;

             c) failing to yield the right-of-way to Vorhees; and

             d) failing to avoid the crash when, in the exercise of reasonable care, he could have
                done so.

                                               Page 3 of 6
USDC IN/ND case 1:19-cv-00202-WCL-SLC document 1 filed 05/07/19 page 4 of 6


        21.      Mazzatosta operated Annett Holding’s tractor-trailer in a negligent manner, causing

the collision with the car being operated by Vorhees.

        22.      Mazzatosta is legally responsible for the damages incurred/suffered by Vorhees as

a result of the collision.

        23.      As a direct and responsible cause of Mazzatosta’s negligent conduct, Vorhees has

suffered and continues to suffer damages including, but not limited to, medical expenses, personal

injuries, bodily impairment, physical pain and suffering, mental anguish and lost wages and

property damage. Vorhees seeks all damages available under law, interests and costs, and all other

just relief.

                                  Count II: Employment/Agency

                 (Defendant Annett Holdings, Inc., d/b/a TMC Transportation)

        24.      Vorhees hereby incorporates paragraphs 1 through 23 of this Complaint fully as if

the same were set forth fully herein.

        25.      The above-described acts of Mazzatosta were committed while acting as an

employee and/or agent of Annett Holdings, Inc., d/b/a TMC Transportation.

        26.      The above-described acts of Mazzatosta were committed while in the scope of his

employment and/or agency and while furthering the business interests of Annett Holdings, Inc.,

d/b/a TMC Transportation.

        27.      As the principal for Mazzatosta, Annett Holdings, Inc., d/b/a TMC Transportation

is legally responsible for the acts committed by Mazzatosta while in the scope of his employment

and/or agency.

        28.      Annett Holdings, Inc. d/b/a TMC Transportation is legally responsible for the

damages incurred by Vorhees as a result of the crash.

                                             Page 4 of 6
USDC IN/ND case 1:19-cv-00202-WCL-SLC document 1 filed 05/07/19 page 5 of 6


        29.     As a direct result of Annett Holding, Inc. d/b/a TMC Transportation’s negligent

conduct, Vorhees has suffered and continues to suffer damages including, but not limited to,

medical expenses, personal injuries, bodily impairment, physical pain and suffering, mental

anguish and lost wages and property damage. Vorhees seeks all damages available under law,

interests and costs, and all other just relief.

                                     VI. PRAYER FOR RELIEF

        WHEREFORE, the Plaintiff, Nicole R. Vorhees, prays for the following relief:

        1. judgment in her favor;

        2. an award of damages sufficient to compensate her for her losses including but not

limited to the following:

                a) medical expenses for the treatment of her physical and psychological injuries;

                b) the reasonable value of future medical and other healthcare related expenses;

                c) lost income;

                d) compensatory damages to compensate her for the physical or psychological

                    injuries she has suffered;

                e) compensatory damages to compensate her for the past, present and future pain

                    and suffering, anxiety and emotional distress;

                f) costs of this action; and

                g) any and all further relief appropriate under the circumstances.

                                           JURY DEMAND

        Plaintiff, Nicole R. Vorhees, hereby demands a trial by jury as to all issues so triable.




                                                  Page 5 of 6
USDC IN/ND case 1:19-cv-00202-WCL-SLC document 1 filed 05/07/19 page 6 of 6


                                          Respectfully submitted,


                                          THEISEN & ASSOCIATES, LLC

                                          /s/ John C. Theisen______________
                                          John C. Theisen (549-02)
                                          Nathaniel O. Hubley (28609-64)
                                          810 S. Calhoun Street, Suite 200
                                          Fort Wayne, IN 46802
                                          Telephone: 260-422-4255
                                           Attorneys for Plaintiff




                                 Page 6 of 6
